      Case 4:21-cr-00009 Document 262 Filed on 05/02/22 in TXSD Page 1 of 8




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


 UNITED STATES OF AMERICA                  §
                                           §
 v.                                        §         Criminal No. 4:21-cr-00009
                                           §
 ROBERT T. BROCKMAN                        §


      DEFENDANT ROBERT T. BROCKMAN’S REPLY IN SUPPORT OF HIS
              NOTICE OF SUPPLEMENTAL INFORMATION
           RELEVANT TO THE COMPETENCY DETERMINATION

       Section 4241(a) of Title 18 of the United States Code, and the Supreme Court

mandate that courts consider the current competency of a defendant in a criminal case at

every step of the proceedings. 18 U.S.C. § 4241(a) (Court must consider competency “[a]t

any time after the commencement of a prosecution for an offense and prior to the

sentencing[.]”); Drope v. Missouri, 420 U.S. 162, 181 (1975) (Courts “must always be alert

to circumstances suggesting a change that would render the accused unable to meet the

standards of competence to stand trial.”). For this reason, the defense filed a Notice of

Supplemental Information Relevant to the Competency Determination (“Supplemental

Information Notice”), Dkt. No. 259, to inform the Court that three doctors—

Mr. Brockman’s primary care physician, the doctor treating him for Parkinson’s disease,

and the defense’s neurology expert—have found that his dementia has progressed at an

accelerated pace since the November 2021 competency hearing.

       Ignoring both the statutory mandate and the Supreme Court, the government filed a

response that opens with the astounding statement that “the Court should disregard this


                                          -1-
     Case 4:21-cr-00009 Document 262 Filed on 05/02/22 in TXSD Page 2 of 8




pleading.” Dkt. No. 261 at 1 (“Response”). The government’s position that the Court

should ignore relevant evidence is consistent with the government’s approach throughout

this competency hearing, in which the government (a) ignored the advice of its own expert

witness, Dr. Park Dietz, that the government should retain a geriatric psychiatrist to

properly evaluate the defendant’s condition (11/19/2021 PM Tr. At 35:16–36:5 (Dietz)),

and (b) decided to retain a forensic psychologist, Dr. Robert Denney, whom a federal court

found “overall to be not credible” because he “ignore[ed], disregard[ed], or minimize[ed]

evidence that called his conclusions into question.” Webster v. Lockett, No. 2:12-cv-86,

2019 WL 2514833, at *7 n.13 (S.D. Ind. June 18, 2019), aff’d sub nom. Webster v. Watson,

975 F.3d 667, 682 (7th Cir. 2020).

       The government’s own experts testified that Mr. Brockman has Parkinson’s disease,

that neuroimaging shows a condition consistent with Alzheimer’s disease, that

Mr. Brockman has some degree of cognitive impairment, including possibly dementia, and

that his condition is permanent, progressive, and incurable. See Dkt. No. 239 at ¶¶ 3, 7, 15,

40, 44, 47, 77, 88, 12 and citations therein. The government now argues that this Court

should not consider evidence that Mr. Brockman’s dementia has in fact progressed.

       Rather than directly address the issue of Mr. Brockman’s competency, the

government’s Response includes baseless and irrelevant assertions:

             The government complains that it “was not told of Defendant’s alleged

illnesses in December 2021 or January 2022.” Dkt. No. 261 at 1. This is correct but

irrelevant. Medical events may have an immediate impact on cognitive ability, but may




                                            -2-
     Case 4:21-cr-00009 Document 262 Filed on 05/02/22 in TXSD Page 3 of 8




then be followed by improvement to a new baseline. 1              In February and March,

Mr. Brockman’s primary care doctor and treating neurologist determined that he was at a

new, further impaired cognitive level. Dkt. No. 260, Ex. 2, Ex. 3 at 1–3. These medical

evaluations were confirmed by Dr. Wisniewski’s expert evaluation in early April. Dkt. No.

259-1, Ex. 1. It was at that point that the impact of the medical events in December and

January on Mr. Brockman’s deteriorating cognitive abilities were clearly established. The

Supplemental Information Notice was filed promptly after the defense received

Dr. Wisniewski’s report.

             The government claims that “the Notice is Defense counsel’s vague

interpretations of incomplete medical records, and an attempt to give the false impression

that Defendant’s health has significantly declined as a result of COVID-19 and an unrelated

hospitalization,” and that the “Notice attempts to bait the reader into making a false

association between his bout of COVID-19 and alleged cognitive deterioration.” Dkt. No.

261 at 2. These contentions are demonstrably not true. Nowhere does the government so

much as acknowledge that the Supplemental Information Notice included an updated

evaluation from Dr. Thomas Wisniewski, an expert neurologist who testified at the




       1
         The pattern of a medical event triggering increased cognitive impairment, followed by
some improvement to a new baseline, was established at the competency hearing. Experts
examined Mr. Brockman in March, July, and October 2021. Between March and July,
Mr. Brockman was hospitalized with sepsis and delirium and underwent surgery under general
anesthesia. In July, he presented as significantly more impaired than in March. When examined
again in October, some aspects of his cognitive condition had improved from July, but
Mr. Brockman had not recovered to his March level of cognition. See, e.g., Dkt. No. 172 at 16–
18; Dkt. No. 173 at 19, 23–24, 37.


                                            -3-
     Case 4:21-cr-00009 Document 262 Filed on 05/02/22 in TXSD Page 4 of 8




competency hearing.      Dr. Wisniewski’s opinion, based on his expertise and his

examination of Mr. Brockman, is far from vague, and makes clear the impact of the

December COVID-19 infection and January bout of toxic metabolic encephalopathy

(“TME”) on Mr. Brockman’s accelerated cognitive decline. As Dr. Wisniewski opined:

       In summary, it is my opinion that Mr. Brockman’s dementia has significantly
       progressed since my October 2021 assessment. This progression of cognitive
       dysfunction is partly what is expected over time; however, in this case there
       was an acceleration of the process due to COVID-19 and a January 2022
       hospital admission with TME.

Dkt. No. 259-1, Ex. 1 at 2.

             The government acknowledges that “TME is a form of delirium,” adding:

“The Court may recall that Defendant has a history of delirium, so it is not shocking to

learn that this is ongoing.” Dkt. No. 261 at 3. Here the government misses the point. The

fact that Mr. Brockman’s further cognitive decline is not “shocking” is not the standard.

The government wholly overlooks that experts on both sides testified at the competency

hearing that delirium accelerates cognitive decline. See Dkt. No. 239 at ¶¶ 8, 76, 82, 87

and citations therein.   Indeed, the government’s own neurologist, Dr. Ryan Darby,

concluded that Mr. Brockman was at an “increased risk for progression over time [i.e.

further cognitive decline that could affect his competency] due to his history of delirium.”

Gov’t Ex. 39, Dr. Darby Suppl. Report, Dkt. No. 177 at 11. While perhaps not “shocking,”

Mr. Brockman’s recent bout of TME is certainly relevant to the Court’s determination of

competency.

             The government complains that the defense “has not provided the

government with medical records regarding these events, and has not provided any


                                           -4-
     Case 4:21-cr-00009 Document 262 Filed on 05/02/22 in TXSD Page 5 of 8




discovery of the additional underlying medical records referenced in the Notice.”2 Dkt.

No. 261 at 1. This is misleading. The Supplemental Information Notice included medical

reports from Mr. Brockman’s primary care physician and treating neurologist, which are

the relevant records. Dkt. No. 260, Exs. 2–3. If the government wished to investigate

recent developments it could request the records it deems necessary. It chose not to do so

and instead asks the Court to join the government in burying its head in the sand.

       The government bears the burden of proof concerning Mr. Brockman’s competency,

United States v. Hutson, 821 F.2d 1015, 1018 (5th Cir. 1987), and cannot meet this burden

by asking this Court to ignore current, relevant evidence on this issue. United States v.

Collins, 491 F.2d 1050, 1053 (5th Cir. 1974) (discussing competency as a present

determination).

       To be clear, it is the position of the defense that the evidence presented at the

November competency hearing established that Mr. Brockman is not competent to assist

in his defense. In the alternative, the defense proposed an examination of Mr. Brockman

by neutral experts pursuant to Title 18, United States Code, Sections 4241(b) and 4247(b).

See Dkt. No. 259 at 5. While the government previously proposed the appointment of

neutral experts if the Court were unable to determine whether Mr. Brockman is competent,

see, e.g., 9/13/2021 Tr. at 25:24–26:9 (Corey Smith); Dkt. No. 113 at 13–14, the

government flatly rejects this proposal now. Instead, the government offers no way


       2
         The government also complains that defense counsel provided “about 90 minutes” email
notice “of a coming filing regarding ‘health setbacks,’” see Dkt. No. 261 at 2 n.2, but omits that
the lead prosecutor responded to this email before the Supplemental Information Notice was filed,
thanking defense counsel for advance notice of the filing.


                                              -5-
     Case 4:21-cr-00009 Document 262 Filed on 05/02/22 in TXSD Page 6 of 8




forward, but rather doubles down on its position that the Court should rely solely on “the

record established during the Competency Hearing.” Dkt. No. 261 at 1; see also id. at 3–

4.

       In the meantime, Mr. Brockman’s health has worsened further since the

Supplemental Information Notice was filed. On April 18, Mr. Brockman was admitted to

Houston Methodist Hospital. He was diagnosed with a urinary tract infection, pneumonia,

and sepsis. He was unable to swallow, and had a feeding tube in his stomach. While it is

too soon to determine the cognitive impact that these medical events may have, sepsis in

particular can trigger delirium and accelerate cognitive decline. See Dkt. No. 239 at ¶ 26

and citations therein. At the time of this filing, Mr. Brockman is being released from the

hospital following a fourteen-day stay.

       Mr. Brockman is not, as the government contends, malingering. He is a very sick

man, whose physical health is deteriorating, and whose dementia is accelerating.

Mr. Brockman’s current cognitive condition is not merely relevant, it is the sole issue

before the Court in this case.



Dated: May 2, 2022                           /s/ Jason S. Varnado
                                             Jason S. Varnado
                                             Texas Bar No. 24034722
                                             SDTX Ad. ID No. 32166
                                             Email: jvarnado@jonesday.com
                                             JONES DAY
                                             717 Texas, Suite 3300
                                             Houston, TX 77002
                                             Telephone: 832-239-3939
                                             Facsimile: 832-239-3600



                                          -6-
Case 4:21-cr-00009 Document 262 Filed on 05/02/22 in TXSD Page 7 of 8




                                  Kathryn Keneally (Admitted Pro Hac Vice)
                                  New York Bar No. 1866250
                                  Email: kkeneally@jonesday.com
                                  James P. Loonam (Admitted Pro Hac Vice)
                                  New York Bar No. 4035275
                                  Email: jloonam@jonesday.com
                                  Sarah D. Efronson (Admitted Pro Hac Vice)
                                  New York Bar No. 5217484
                                  Email:sefronson@jonesday.com
                                  Colleen E. O’Connor (Admitted Pro Hac Vice)
                                  New York Bar No. 5764725
                                  Email: colleenoconnor@jonesday.com
                                  JONES DAY
                                  250 Vesey Street
                                  New York, NY 10281-1047
                                  Telephone: 212-326-3939
                                  Facsimile: 212-755-7306

                                  Irina K. Bleustein (Admitted Pro Hac Vice)
                                  District of Columbia Bar No. 1044772
                                  Email: ibleustein@jonesday.com
                                  Conor G. Maloney (Admitted Pro Hac Vice)
                                  District of Columbia Bar No. 1632584
                                  Email: cmaloney@jonesday.com
                                  Patrick J. Manion (Admitted Pro Hac Vice)
                                  District of Columbia Bar No. 1615138
                                  Email: pmanion@jonesday.com
                                  Michael R. Tompkins (Admitted Pro Hac
                                  Vice)
                                  District of Columbia Bar No. 1720349
                                  Email: mtompkins@jonesday.com
                                  JONES DAY
                                  51 Louisiana Avenue, N.W.
                                  Washington, D.C. 20001-2113
                                  Telephone: 202-879-3450
                                  Facsimile: 202-626-1700

                                  Attorneys for Defendant
                                  Robert T. Brockman




                                -7-
     Case 4:21-cr-00009 Document 262 Filed on 05/02/22 in TXSD Page 8 of 8




                            CERTIFICATE OF SERVICE

       I certify that on this 2nd day of May, 2022, I electronically served this document on

all counsel of record.



                                             /s/ Jason S. Varnado
                                             Jason S. Varnado




                                           -8-
